Russell L. Winner
Alaska Bar Association No. 7811149
WINNER & ASSOCIATES, P.C.
900 W. 5th Avenue, Suite 700
Anchorage, AK 99501
Telephone: (907) 277-9522
Facsimile: (907) 277-4510
Email: rwinner@winnerlaw.com
Attorneys for Plaintiff Raymond C. Givens

Rachel B. Lauesen
Alaska Bar Association No. 0905016
Lauesen Law Team, LLC
521 W. 41st Avenue, Suite 102
Anchorage, Alaska 99503
Telephone: (907) 206-2030
Facsimile: (907) 206-2040
Email: rachel@lauesenlaw.com
Attorneys for Defendant Leroy Oenga, Jr.

                               UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF ALASKA



 RAYMOND C. GIVENS,
                  Plaintiff,
          v.
 LEROY OENGA, JR.
                  Defendant.
                                                          Case No. 3:21-cv-00008-HRH

                 JOINT MOTION TO PLACE EXHIBITS UNDER SEAL
        COME NOW Plaintiff Raymond C. Givens and Defendant Leroy Oenga, Jr., by
their undersigned attorneys, and jointly move that the Court place under seal the exhibits

JOINT MOTION TO PLACE EXHIBITS UNDER SEAL
Raymond C. Givens v. Leroy Oenga, Jr.,
U.S. District Court for the District of Alaska, Case No. 3:21-cv-00008-HRH             Page 1 of 3



     Case 3:21-cv-00008-HRH Document 58 Filed 01/06/22 Page 1 of 3
appearing at Docket No. 56-1 and Docket No. 56-2 that were recently filed by Plaintiff
with this Court. The exhibits consist of a pleading filed by Plaintiff and ruling entered
by Bar Counsel in the fee arbitration before the Alaska Bar Association. The instant
motion to seal is filed with the Court to avoid any concerns regarding the possible
confidentiality of certain information appearing in those documents, under Alaska Bar
Rule 40(r).
        The Court has the authority to grant this motion. See Nixon v. Warner
Communications, Inc., 435 U.S. 589, 598 (1978) (“Every court has supervisory over its
own records and files”); Brennan v. Opus Bank, 796 F.3d 1125, 1134 (9th Cir. 2015) (“A
district court may seal its records pursuant to its inherent supervisory power over such
documents.”); Hagestad v. Tragesser, 49 F.3d 1430, 1433-34 (9th Cir. 1995) (a trial court
has supervisory power over its own records and files to place previously filed exhibits
under seal).
        A proposed order accompanies this motion.

/


/


/


/




JOINT MOTION TO PLACE EXHIBITS UNDER SEAL
Raymond C. Givens v. Leroy Oenga, Jr.,
U.S. District Court for the District of Alaska, Case No. 3:21-cv-00008-HRH      Page 2 of 3



     Case 3:21-cv-00008-HRH Document 58 Filed 01/06/22 Page 2 of 3
        Dated this 6th day of January, 2022, at Anchorage, Alaska.

                                            WINNER & ASSOCIATES, P.C.
                                            Attorneys for Plaintiff Raymond C. Givens

                                            By:      /s/ Russell L. Winner
                                                     Russell L. Winner
                                                     Alaska Bar No. 4811179

                                            LAUESEN LAW TEAM, LLC
                                            Attorneys for Defendant Leroy Oenga, Jr.

                                            By:      /s/ Rachel B. Lauesen
                                                     Rachel B. Lauesen
                                                     Alaska Bar No. 0905016




Certificate of Service
I hereby certify that on January 6, 2022,
a copy of the foregoing document was served electronically
through the ECF system as indicated on the Notice of Electronic Filing.

By:     /s/ Carrie Sisson
        Carrie Sisson




JOINT MOTION TO PLACE EXHIBITS UNDER SEAL
Raymond C. Givens v. Leroy Oenga, Jr.,
U.S. District Court for the District of Alaska, Case No. 3:21-cv-00008-HRH              Page 3 of 3



      Case 3:21-cv-00008-HRH Document 58 Filed 01/06/22 Page 3 of 3
